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Damon Charles Williams,
Petitioner,
V.

Kelly Laimana; Best Western International,
Inc.,

Respondents.

 

 

rendered,

113435413.1

 

 

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UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA

Case No. 8:20-cv-01110-DOC-ADS
(Assigned to the Hon. David O. Carter)

JUDGMENT [28]

This action came before the Court, Honorable David O. Carter, District Judge,
presiding. The Court having found the matter suitable for resolution without oral

argument, the issues having been duly considered, and a decision having been duly

JUDGMENT
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THE COURT HAS ORDERED AND ADJUDGED THAT:
e Petitioner Damon Charles Williams take nothing;
e The purported Final Arbitration Award issued in favor of petitioner
Damon Charles Williams and against respondents Kelly Laimana and
Best Western International, Inc. on January 15, 2020, be vacated: and

e Respondent Best Western International, Inc. recover from petitioner

Damon Charles Williams the sum of $15,085.00.

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Hon. David O. Carter
U.S District Judge

Dated: January 29, 2021

 

JUDGMENT

 

113435413.1
